             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 1 of 23



 1   Rodeen Talebi (CA SBN 320392)
 2   FISH & RICHARDSON P.C.
     500 Arguello Street, Suite 500
 3   Redwood City, CA 94063
 4   Telephone: (650) 839-5070
     Facsimile: (650) 839-5071
 5   Email: talebi@fr.com
 6
     Neil J. McNabnay (pro hac vice)
 7   Ricardo J. Bonilla (pro hac vice)
 8   Noel Chakkalakal (pro hac vice)
     FISH & RICHARDSON P.C.
 9   1717 Main Street, Suite 5000
10   Dallas, TX 75201
     Telephone: (214) 747-5070
11   Facsimile: (214) 747-2091
12   mcnabnay@fr.com
     rbonilla@fr.com
13   chakkalakal@fr.com
14
     Attorneys for Defendant
15   Driveroo, Inc.
16
                  IN THE UNITED STATES DISTRICT COURT
17              FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
     SOCIAL POSITIONING INPUT                  Case No. 5:22-CV-00222-VKD
19
     SYSTEMS, LLC,
20                                             DEFENDANT DRIVEROO, INC.,
                        Plaintiff,             INC. NOTICE OF MOTION AND
21                                             MOTION TO DISMISS FOR
        v.
22                                             FAILURE TO STATE A CLAIM
     DRIVEROO, INC,
23                                             Judge: Magistrate Judge Virginia K.
24                      Defendant.             DeMarchi
                                               Date: March 22, 2022
25                                             Time: 10 a.m.
26                                             Courtroom: 2, 5th Floor
27

28
                                           i
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 2 of 23



 1
     TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
 2
           PLEASE TAKE NOTICE THAT on March 22, 2022 at 10 a.m., or as soon
 3
     thereafter as the matter may be heard, in the United States District Court, Northern
 4
     District of California, located at the San Jose Courthouse, Courtroom 2 – 5th Floor,
 5
     280 South 1st Street, San Jose, CA 95113, before the Honorable Virginia K.
 6
     DeMarchi, Defendant Driveroo, Inc. (“Driveroo” or “Defendant”) will move, and
 7
     hereby presents for hearing by the Court this motion to dismiss Plaintiff Social
 8
     Positioning Input Systems, LLC’s (“Social Positioning”) Complaint with prejudice
 9
     for the reasons set forth below.
10
           This motion is based on this notice of motion and motion, the accompanying
11
     memorandum of points and authorities, and such additional papers and arguments
12
     as map be presented at or in connection with the hearing.
13
           Now comes Defendant Driveroo, Inc., Inc. (“Driveroo” or “Defendant”), by
14
     and through counsel, and hereby moves this Court, pursuant to Federal Rule of
15
     Civil Procedure 12(b)(6), for an Order dismissing the Complaint by Plaintiff Social
16
     Positioning Input Systems, LLC for failure to state a claim upon which relief may
17
     be granted. The points and authorities supporting this Motion to Dismiss are set
18
     forth in the accompanying Memorandum in Support, which is being filed
19
     contemporaneously with this Motion.
20

21

22

23

24

25

26

27

28
                                               i
                Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 3 of 23



 1
                                             TABLE OF CONTENTS
 2

 3   I.   NATURE AND STAGE OF PROCEEDINGS ..................................................1
 4
     II. SUMMARY OF THE ARGUMENT .................................................................1
 5

 6   III. STATEMENT OF FACTS .................................................................................2
 7
     IV. ARGUMENT ......................................................................................................4
 8

 9           A.       Legal Standard ....................................................................................... 4
10                    1.       This Case Should Be Disposed of at the Pleading Stage
11                             Through Rule 12(b)(6) ................................................................ 4

12                    2.       The Law of 35 U.S.C. § 101 ....................................................... 5
13           B.       The ’365 Patent is Invalid Under 35 U.S.C. § 101. .............................. 7
14
                      1.       Alice Step 1: The claims are directed to an abstract idea. .......... 7
15
                      2.       Alice Step 2: The claims do not contain an inventive
16
                               concept amounting to significantly more than the abstract
17                             idea. ........................................................................................... 13
18                    3.       The remaining claims are dependent on Claim 1 and are
19                             also abstract ............................................................................... 16
20   V. CONCLUSION .................................................................................................17
21

22

23

24

25

26

27

28
                                                                 ii
                Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 4 of 23




                                          TABLE OF AUTHORITIES
 1

 2                                                                                                              Page(s)
 3   Cases
 4   Affinity Labs of Tex., LLC v. DIRECTV, LLC,
 5      838 F.3d 1253 (Fed. Cir. 2016) .......................................................................... 10
 6   Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
        134 S. Ct. 2347 (2014) .................................................................................passim
 7

 8   Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
       687 F.3d 1266 (Fed. Cir. 2012) ......................................................................5, 15
 9

10
     Berkheimer v. HP Inc.,
        881 F.3d 1360 (Fed. Cir. 2018) .......................................................................... 15
11
     Bilski v. Kappos,
12      561 U.S. 593 (2010) ......................................................................................5, 6, 7
13
     buySAFE, Inc. v. Google, Inc.,
14      765 F.3d 1350 (Fed. Cir. 2014) .......................................................................... 14
15   Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
16     776 F.3d 1343 (Fed. Cir. 2014) ............................................................................ 7
17   CyberSource Corp. v. Retail Decisions, Inc.,
18     654 F.3d 1366 (Fed. Cir. 2011) ............................................................................ 6

19   DDR Holdings, LLC v. Hotels.com, L.P.,
       773 F.3d 1245 (Fed. Cir. 2014) ............................................................................ 8
20

21   Diamond v. Chakrabarty,
        447 U.S. 303 (1980) .............................................................................................. 5
22
     Diamond v. Diehr,
23
        450 U.S. 175 (1981) .............................................................................................. 6
24
     Elec. Power Grp., LLC v. Alstom S.A.,
25      830 F.3d 1350 (Fed. Cir.2016) ........................................................................... 11
26

27

28                                                             iii
                 Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 5 of 23




     Enfish, LLC v. Microsoft Corp.,
 1
        822 F.3d 1327 (Fed. Cir. 2016) ........................................................................ 8, 9
 2
     Ericsson Inc. v. TCL Commc'n Tech. Holdings,
 3      955 F.3d 1317 (Fed. Cir. 2020) .......................................................................... 10
 4
     Fleming v. Pickard,
 5      581 F.3d 922 (9th Cir. 2009) ................................................................................ 4
 6   Fort Props., Inc. v. Am. Master Lease LLC,
 7     671 F.3d 1317 (Fed. Cir. 2012) ............................................................................ 6
 8   Intellectual Ventures I LL v. Capital One Bank U.S.A.,
 9
        792 F.3d 1363 (Fed. Cir. 2015) .......................................................................... 15

10   Internet Patents Corp. v. Active Network, Inc.,
        790 F.3d 1343 (Fed. Cir. 2015) ..................................................................8, 9, 16
11

12
     Joao Control & Monitoring Sys., LLC v. Telular Corp.,
        173 F. Supp. 3d 717, 2017 WL 1151052 (N.D. Ill. 2016) ................................. 12
13
     Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,
14      66 F. Supp. 3d 829 (E.D. Tex. 2014) .................................................................. 10
15
     Mace v. Ocwen Loan Servicing, LLC,
16     16-cv-05840-MEJ, 2018 WL 368601 (N.D. Cal. Jan. 11, 2018) ......................... 4
17
     MacroPoint, LLC v. FourKites, Inc.,
18     No. 15–cv–1002, 2015 WL 6870118 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed.
       Appx. 780 ............................................................................................................ 12
19

20   Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
       132 S. Ct. 1289 (2012) .......................................................................................... 6
21
     Mendiondo v. Centinela Hosp. Med. Ctr.,
22
       521 F.3d 1097 (9th Cir. 2008) .............................................................................. 4
23
     Parker v. Flook,
24     437 U.S. 584 (1978) .............................................................................................. 6
25
     Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
26     No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017).......... 7
27

28                                                               iv
                Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 6 of 23




     Procter & Gamble Co. v. QuantifiCare Inc.,
 1
        17-CV-03061-LHK, 2017 WL 6497629 (N.D. Cal. Dec. 19, 2017).................... 4
 2
     Rothschild Location Techs. LLC v. Geotab USA, Inc.,
 3      No. 6:15-cv-682, 2016 WL 3584195 (E.D. Tex. Jan. 4, 2016) .......................... 13
 4
     Secured Mail Solutions LLC v. Universal Wilde, Inc.,
 5      873 F.3d 905 (Fed. Cir. 2017) ............................................................................ 11
 6   Simio LLC v FlexSim Software Products Inc.,
 7      2020 WL 7703014 (Fed. Cir. Dec. 29, 2020) ....................................................... 5
 8   In re TLI Commc’ns LLC Patent Litig.,
 9
         823 F.3d 607 (Fed. Cir. 2016) ..................................................................1, 11, 14

10   In re TLI,
         87 F. Supp. 3d 773 .............................................................................................. 13
11

12
     Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC,
       874 F.3d 1329 (Fed. Cir. 2017) ..............................................................11, 12, 14
13
     Ultramercial, Inc. v. Hulu, LLC,
14      772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring) ..............................5, 8, 13
15
     Wireless Media Innovations, LLC v. Maher Terminals, LLC,
16     100 F. Supp. 3d 405 (D.N.J. 2015) .....................................................1, 11, 12, 14
17
     Statutes
18
     35 U.S.C. § 101 .................................................................................................passim
19
     Other Authorities
20

21   FED. R. CIV. P. 12(b)(6)..................................................................................2, 4, 5, 7

22

23

24

25

26

27

28                                                              v
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 7 of 23




 1   I.    NATURE AND STAGE OF PROCEEDINGS
 2         On January 12, 2022, Social Positioning Input Systems, LLC filed this lawsuit
 3   accusing Defendant Driveroo of infringing U.S. Patent No. 9,261,365. In particular,
 4   Social Positioning accuses Driveroo’s hardware and software for asset locating
 5   services of infringement.
 6   II.   SUMMARY OF THE ARGUMENT
 7         The claims of the ’365 Patent are directed to the abstract idea of sharing
 8   address information. But sharing address information is not a technological
 9   improvement, an inventive way of applying conventional technology, or even new.
10   See Wireless Media Innovations, LLC v. Maher Terminals, LLC, 100 F. Supp. 3d
11   405 (D.N.J. 2015) (finding similar claims directed to the abstract idea of “monitoring
12   locations, movement, and load status of shipping containers within a container-
13   receiving yard, and storing, reporting and communicating this information in
14   various forms through generic computer functions”) (emphasis added).
15         The claims of the ’365 Patent are not directed to an improvement in computer
16   functionality. Rather, they are directed to “the use of conventional or generic
17   technology in a nascent but well-known environment.” In re TLI Commc’ns LLC
18   Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir. 2016) (“[H]ere we need to only look
19   to the specification, which describes the [components] as either performing basic
20   computer functions such as sending and receiving data, or performing functions
21   ‘known’ in the art.”). No particular non-conventional component or programming is
22   either claimed or disclosed. Social Positioning’s patent does no more than describe
23   the basic idea of sending and receiving information related to addresses without
24   disclosing any novel application of that idea.
25         Instead, the approach for sharing address information described in the ’365
26   Patent may be implemented using generic and conventional technology such as
27

28                                             1
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 8 of 23




 1   “communication protocols or systems currently existing . . . for wirelessly
 2   transmitting data.” ’365 Patent at 7:4–5. Indeed, the ’365 Patent’s specification
 3   makes clear that it does not make use of any novel components. Id. at 5:67–6:2
 4   (“[s]uch input devices are standard and currently available on many electronic
 5   devices including portable digital assistants (PDAs) and cellular telephones.”);
 6   6:19–20 (“any other memory storage that exists currently”); id. at 7:20–21
 7   (“conventional code encryption algorithms currently in use”); id. at 8:10–12
 8   (“identity detection devices such as biometric devices are common and are currently
 9   widely in use”). Therefore, the ’365 Patent is invalid under 35 U.S.C. § 101 for
10   failure to claim patent-eligible subject matter.
11          Resolving these issues does not require discovery or formal claim
12   construction. To avoid waste of judicial and party resources unnecessarily litigating
13   invalid patents, Driveroo respectfully requests that the Court dismiss the Complaint
14   for failure to state a claim. FED. R. CIV. P. 12(b)(6).
15   III.   STATEMENT OF FACTS
16          The ’365 Patent, entitled “Device, system and method for remotely entering,
17   storing and sharing addresses for a positional information device,” issued on
18   February 16, 2016, from an application filed on September 9, 2009. The applicant
19   contends to have identified and solved problems associated with GPS devices which
20   store addresses locally. See id. at 1:46-2:25. The patent, however, merely
21   implements an abstract idea using conventional components and communication
22   systems that were known in the prior art.
23          Independent claim 1 of the ’365 patent, which is representative, recites:
24          1. A method for receiving location information at a positional
25          information device, the method comprising:
26                sending a request from a requesting positional information
                  device to a server for at least one address stored in at least one
27

28                                               2
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 9 of 23




                  sending positional information device, the request including a
 1
                  first identifier of the requesting positional information device;
 2
                  receiving at the requesting positional information device, from
 3                the server, a retrieved at least one address to the requesting
                  positional information device wherein the server determines a
 4
                  second identifier for identifying the at least one sending
 5                positional information device based on the received first
                  identifier and retrieves the requested at least one address stored
 6
                  in the identified at least one sending positional information
 7                device.
 8

 9   Id. at cl. 1.Claim 1 of the ’365 Patent is directed to a method of sharing addresses.
10   Methods for sharing addresses with GPS devices are generically described in the
11   specification. Id. at 8:23-34 (“system and method for remotely entering, storing and
12   sharing location address information will be described”) (emphasis added). The
13   embodiments described in the specification center on sharing address information.
14   See id. at 9:29-32 (“[i]n one embodiment, the customer service center includes a live
15   operator 303 that has access to server 304 for looking up address information and
16   transmitting the information to the device”) (emphasis added). The specification
17   also describes a situation in which “[a] driver of a vehicle needs assistance in
18   locating a point of interest such as a museum in a designated city.” Id at 12:27-28.
19   However, the applicant did not provide any technical details on how information is
20   shared beyond what was known in the prior art.
21         In Claim 1, a requesting positional information device “send[s] a request . . .
22   for at least one address” to a server. The request includes “a first identifier” for
23   identifying the requesting positional information device. The server obtains the
24   requested address from a “sending positional information device.” The sending
25   positional information device is identified by a “second identifier.” The positional
26   information devices are understood to be GPS devices. See id. at Abstract (“a
27

28                                             3
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 10 of 23




 1   positional information device, e.g., a global positioning system (GPS) device)
 2   (emphasis added). In other words, Claim 1 recites a generic technique to establish a
 3   communications link between one or more devices and transfer information. No
 4   technical details are disclosed, much less claimed, as to how these processes are
 5   accomplished. Claim 1 simply recites generic and well-known hardware components
 6   performing standard functions.
 7   IV.   ARGUMENT
 8         A.     Legal Standard
 9                1.     This Case Should Be Disposed of at the Pleading Stage
10                       Through Rule 12(b)(6)
11         Under Federal Rule of Civil Procedure 12(b)(6), a party may move to
12   dismiss a complaint that fails to state a claim upon which relief can be granted.
13   “Dismissal under Rule 12(b)(6) is appropriate only where the complaint lacks a
14   cognizable legal theory or sufficient facts to support a cognizable legal theory.”
15   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).
16   “While a complaint ‘need not contain detailed factual allegations’ to survive a Rule
17   12(b)(6) motion, ‘it must plead enough facts to state a claim to relief that is
18   plausible on its face.’” Mace v. Ocwen Loan Servicing, LLC, 16-cv-05840-MEJ,
19   2018 WL 368601, *2 (N.D. Cal. Jan. 11, 2018) (quoting Cousins v. Lockyer, 568
20   F.3d 1063, 1067–68 (9th Cir. 2009) (internal quotation marks and citations
21   omitted)). “A claim is facially plausible when it ‘allows the court to draw the
22   reasonable inference that the defendant is liable for the misconduct alleged.’” Id.
23   (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks
24   omitted)). Here, the court must accept “all factual allegations in the complaint as
25   true and construe them in light most favorable to the non-moving party.” Fleming
26   v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009); see also Procter & Gamble Co. v.
27

28                                              4
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 11 of 23




 1   QuantifiCare Inc., 17-CV-03061-LHK, 2017 WL 6497629, at *25 (N.D. Cal. Dec.
 2   19, 2017) (finding an “obligation to construe the pleadings in the light most
 3   favorable to Plaintiffs” when a claim presents an “extremely close call”).
 4   Conclusory statements are disregarded for purposes of evaluating a complaint
 5   under Rule 12(b)(6). Simio LLC v FlexSim Software Products Inc., 2020 WL
 6   7703014, at *19 (Fed. Cir. Dec. 29, 2020).
 7         Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos,
 8   561 U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the
 9   pleadings stage if it is apparent from the face of the patent that the asserted claims
10   are not directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772
11   F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J., concurring). In those situations, claim
12   construction is not required to conduct a § 101 analysis. Bancorp Servs. L.L.C. v.
13   Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e perceive no flaw
14   in the notion that claim construction is not an inviolable prerequisite to a validity
15   determination under § 101.”).
16                2.     The Law of 35 U.S.C. § 101
17         Section 101 of the Patent Act sets forth four categories of patentable subject
18   matter: “any new and useful process, machine, manufacture, or composition of
19   matter.” 35 U.S.C. § 101. Also, the law recognizes three exceptions to patent
20   eligibility: “laws of nature, physical phenomena, and abstract ideas.” Diamond v.
21   Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract ideas are
22   ineligible for patent protection because a monopoly over these ideas would preempt
23   their use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract
24   intellectual concepts are not patentable, as they are the basic tools of scientific and
25   technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67
26   (1972)).
27

28                                             5
            Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 12 of 23




 1         Determining whether a patent claim is impermissibly directed to an abstract
 2   idea involves two steps. First, the court determines “whether the claims at issue are
 3   directed to a patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134
 4   S. Ct. 2347, 2355 (2014). Second, if the claim contains an abstract idea, the court
 5   evaluates whether there is “an ‘inventive concept’—i.e., an element or combination
 6   of elements that is sufficient to ensure that the patent in practice amounts to
 7   significantly more than a patent upon the ineligible concept itself.” Id. (internal
 8   quotations and citations omitted).
 9         Transformation into a patent-eligible application requires “more than simply
10   stating the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting
11   Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)).
12   Indeed, if a claim could be performed in the human mind, or by a human using pen
13   and paper, it is not patent-eligible. CyberSource Corp. v. Retail Decisions, Inc., 654
14   F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully limited if it
15   includes only token or insignificant pre- or post-solution activity—such as
16   identifying a relevant audience, category of use, field of use, or technological
17   environment. Mayo, 132 S. Ct. at 1297-98, 1300-01; Bilski, 561 U.S. at 610;
18   Diamond v. Diehr, 450 U.S. 175, 191-92 & n.14 (1981); Parker v. Flook, 437 U.S.
19   584, 595 n.18 (1978). Finally, “simply appending conventional steps, specified at a
20   high level of generality, to laws of nature, natural phenomena, and abstract ideas
21   cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at
22   1300; see also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323
23   (Fed. Cir. 2012) (“Such a broad and general limitation does not impose meaningful
24   limits on the claim’s scope.”).
25

26

27

28                                             6
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 13 of 23




 1         B.     The ’365 Patent is Invalid Under 35 U.S.C. § 101.
 2         Social Positioning’s Complaint should be dismissed. The claims of the ’365
 3   Patent are invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice
 4   test. Each of the claims is directed to the abstract idea of sharing address information.
 5   Abstract ideas are not eligible for patenting. None of the claims contains an
 6   “inventive concept sufficient to ensure that the patent in practice amounts to
 7   significantly more than a patent upon the ineligible concept itself.” See Alice, 134
 8   S. Ct. at 2355 (emphasis added). Because Social Positioning has failed to state a
 9   claim upon which relief may be granted, Driveroo, Inc. respectfully requests that the
10   Court grant its motion and dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).
11                1.     Alice Step 1: The claims are directed to an abstract idea.
12         In determining patent eligibility under § 101, the Court must first determine
13   whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under
14   any plausible reading, the claims of the ’365 Patent are directed to an unpatentable,
15   abstract idea because they claim nothing more than the “longstanding,” “routine,”
16   and “conventional” concept of sharing address information. See Alice, 134 S. Ct. at
17   2356; Bilski, 561 U.S. at 611.
18                       (a)    The ’365 Patent is directed to the abstract idea of
19                              sharing address information.
20         Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address
21   information.1 Stripped of its generic terminology, the claim conceivably could cover
22

23
     1
       Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g.,
24   Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP,
25   2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after
     analyzing only a few “representative claims” where the other claims were
26   “substantially similar” and “linked to the same abstract idea.”).Where claims are
27   “substantially similar and linked to the same abstract idea,” courts may look to
28                                              7
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 14 of 23




 1   any generic process of sharing address information. This is especially true given the
 2   purely functional nature of the claim language. For example, Claim 1 could cover
 3   the following scenario: (1) requesting an address from another device via a server
 4   (e.g., calling friend Alice to ask for friend Bob’s address); and then (2) receiving
 5   address information from the other device via the server (e.g., Alice providing Bob’s
 6   address). Such a broad concept is not patent eligible because it “recite[s] an
 7   abstraction—an idea, having no particular concrete or tangible form.” Ultramercial,
 8   772 F.3d at 715.
 9         Furthermore, the applicant’s purported invention is not limited to any
10   particular implementation. ’365 Patent at 4:16-20 (“it is to be understood the
11   principles of the present disclosure may be applied to any type of navigation or
12   positional information device including but not limited to a vehicle-mounted device,
13   a GPS receiver coupled to a desktop computer or laptop, etc.”); id. at 9:25-29 (“Once
14   connected to the customer service center, the user can communicate with the
15   customer service center with voice communications or with a vehicle user interface
16   (VUI) including but not limited to keyboard, voice recognition, or mouse or
17   pointer”) (emphasis added)). The specification, coupled with the broad functional
18   language in Claim 1, confirms that Social Positioning’s claims do not describe how
19   to implement the allegedly claimed system, much less how to do so in any non-
20   conventional manner. See Internet Patents Corp. v. Active Network, Inc., 790 F.3d
21   1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible
22   subject matter where “[t]he mechanism for maintaining the state is not described,
23   although this is stated to be the essential innovation”).
24

25

26   representative claims in a § 101 analysis. Content Extraction and Transmission LLC
     v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).
27

28                                              8
            Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 15 of 23




 1         Additionally, the applicant’s own characterizations demonstrate that the
 2   claimed components do not “improve the functioning of the computer itself,” Alice,
 3   134 S. Ct. at 2359, for example by disclosing an “improved, particularized method
 4   of digital data compression,” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d
 5   1245, 1259 (Fed. Cir. 2014), or improving “the way a computer stores and retrieves
 6   data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.
 7   2016). For example, in Enfish, the Federal Circuit distinguished the claims from
 8   others that “simply add[ed] conventional computer components to well-known
 9   business practices,” holding instead that “they [we]re drawn to a specific
10   improvement to the way computers operate.” Id. at 1336. In particular, the
11   unconventional structure of the database resulted in “increased flexibility, faster
12   search times, and smaller memory requirements.” Id. at 1337. Unlike Enfish, nothing
13   in the claims of the ’365 Patent shows any unconventional methodology that would
14   amount to a “specific improvement in the way computers operate.” Id. Therefore,
15   the focus of the ’365 Patents is not “on [a] specific asserted improvement in
16   computer capabilities” but instead “on a process that qualifies as an ‘abstract idea’
17   for which computers are invoked merely as a tool.” Id. at 1336. The “focus” of Claim
18   1, instead, is sharing address information:
19

20                            Claim Language                               Claimed Idea
21   1. A method for receiving location information at a positional
22
     information device, the method comprising:
     sending a request from a requesting positional information device
23
                                                                           Requesting
     to a server for at least one address stored in at least one sending
                                                                             address
24
     positional information device, the request including a first
                                                                           information
     identifier of the requesting positional information device;
25   receiving at the requesting positional information device, from        Receiving
26   the server, a retrieved at least one address to the requesting          address
     positional information device wherein the server determines a         information
27

28                                             9
            Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 16 of 23




     second identifier for identifying the at least one sending
 1
     positional information device based on the received first
 2   identifier and retrieves the requested at least one address stored
 3
     in the identified at least one
     sending positional information device.
 4

 5
           By only claiming the desired result in a functional manner (requesting and
 6
     receiving address information), Claim 1 of the ’365 Patent falls short of claiming
 7
     eligible subject matter under § 101. See Internet Patents, 790 F.3d at 1348; see also
 8
     Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016)
 9
     (holding that claims were directed to an abstract idea where they claimed “the
10
     function of wirelessly communicating regional broadcast content to an out-of-region
11
     recipient, not a particular way of performing that function”). And because the
12
     claimed system are to be implemented without the use of any specialized hardware
13
     or software components, the ’365 Patent risks preempting all automated methods or
14
     systems for sharing address information. See, e.g., Loyalty Conversion Sys. Corp. v.
15
     Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive
16
     effect . . . broad” where “the claims [were] largely functional in nature, they [did]
17
     not provide any significant description of the particular means by which the various
18
     recited functions are performed,” and “[a]ll that [was] disclosed [was] the ultimate
19
     objective”).
20
                        (b)    Courts have found similar claims to be directed to
21                             patent-ineligible subject matter.
22
           Courts have found similar patent claims to be directed to abstract ideas.
23
     Recently, the Federal Circuit held that “[c]ontrolling access to resources is exactly
24
     the sort of process that ‘can be performed in the human mind, or by a human using
25
     a pen and paper,’ which we have repeatedly found unpatentable.” Ericsson Inc. v.
26
     TCL Commc'n Tech. Holdings, 955 F.3d 1317, 1327 (Fed. Cir. 2020). The claims
27

28                                             10
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 17 of 23




 1   here are directed to the request and receipt of address information, and are thus
 2   similar to the claims at issue in Ericsson, in that these are precisely the types of
 3   activities that can be performed by a human without computers. For instance, a party
 4   could call a first friend and ask for a second friend’s address. The first friend may
 5   retrieve the address, and then provide it the requesting party. Because this process
 6   can be performed in this fashion, the claims of the ’365 Patent are invalid under the
 7   same rationale expressed by the Federal Circuit in Ericsson.
 8         Additionally, the Federal Circuit has held the following claims directed to
 9   various acts of information or data acquisition and transfer (including, among others,
10   acquiring, analyzing, sending, receiving, and publishing data) to be directed to
11   abstract ideas under the Alice test:
12            •   Claims directed to collecting information, even when such information
13                is of a particular type. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d
14                1350, 1353 (Fed. Cir.2016) (emphasis added).
15            •   Claims directed to routing information using result-based functional
16                language. Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874
17                F.3d 1329, 1337 (Fed. Cir. 2017) (emphasis added);
18            •   Claims directed to transmitting information about a mail object over
19                a network using a personalized marking, Secured Mail Solutions LLC v.
20                Universal Wilde, Inc., 873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis
21                added);
22            •   A device used for recording a digital image, storing the digital image,
23                and transferring the digital image to a server for further processing, In
24                re TLI Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).
25         Furthermore, patents related to location information have been found to be
26   directed to the abstract idea of monitoring and communicating information. In
27

28                                             11
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 18 of 23




 1   Wireless Media Innovations, for example, the court invalidated two patents for a
 2   system and method of “monitoring locations, movement, and load status of shipping
 3   containers within a container-receiving yard, and storing, reporting and
 4   communicating this information in various forms through generic computer
 5   functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract idea,
 6   according to the court, because these general monitoring and recording functions
 7   “could be carried out by human memory, by hand, or by conventional equipment
 8   and general purpose computer and printer resources.” Id. at 415; see also Joao
 9   Control & Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717, 726, 2017
10   WL 1151052 (N.D. Ill. 2016) (claims found to be “directed to the abstract idea of
11   monitoring and controlling property and communicating this information through
12   generic computer functions”); MacroPoint, LLC v. FourKites, Inc., No. 15–cv–
13   1002, 2015 WL 6870118, at *3 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed. Appx. 780
14   (“directed to the abstract idea of tracking freight”).
15         The idea underlying Claim 1 of the ’365 Patent is just as abstract as those in
16   the Ericsson, Two-Way Media and Wireless Media Innovations claims. As explained
17   earlier, Claim 1 describes a common human activity that can be performed without
18   a computer or specialized equipment. Claim 1 does not include any specific
19   limitations or steps regarding a “specific structure” of computer components used to
20   carry out the abstract idea of sharing address information. Rather, Claim 1 uses
21   results-based functional language like “sending a request from a requesting
22   positional information device to a server” and “receiving at the requesting positional
23   information device, from the server, a retrieved at least one address”’365 Patent at
24   Cl. 1. Claim 1 is abstract because it does “not sufficiently describe how to achieve
25   these results in a non-abstract way.” Two-Way Media, 874 F.3d at 1337 (holding
26   limitations requiring “sending” and “directing” of information “d[id] not sufficiently
27

28                                              12
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 19 of 23




 1   describe how to achieve these results in a non-abstract way”). Claim 1 cannot be
 2   meaningfully distinguished from the claims in either Ericsson, Two-Way Media, or
 3   Wireless Media Innovations.
 4                2.      Alice Step 2: The claims do not contain an inventive concept
 5                        amounting to significantly more than the abstract idea.
 6         Because Claim 1 is directed to an abstract idea, the Court must next determine
 7   whether it contains an “inventive concept sufficient to transform the claimed abstract
 8   idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations
 9   omitted). To pass this test, Claim 1 “must include additional features” that “must be
10   more than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d
11   at 715 (quotation omitted). Here, Claim 1 is broadly generic and does not contain
12   meaningful limitations that would restrict it to a non-routine, specific application of
13   the abstract idea.
14         Although the stated goal of the ’365 Patent is to provide “remotely entering,
15   storing and sharing location addresses,” ’365 Patent at 2:47-48, not a single technical
16   improvement is disclosed, much less claimed. Instead, Claim 1 is described only at
17   a high level, consisting of generic functional language like “sending a request” and
18   “receiving . . . at least one address.” And, according to the specification, no
19   specialized hardware or software is needed to send and receive address information.
20   Id. at 8:23; 12:5.
21         While the specification purports to describe the structure of an embedded
22   system capable of sharing address information, nothing in either Claim 1 or the
23   specification discloses how the “positional information device” must be configured
24   in any manner, much less an inventive one. Instead, the claim limitations simply list
25   generic hardware without any improvement in technology. See In re TLI, 87 F. Supp.
26   3d 773, 794 (holding that a “telephone unit limitation is another example of generic
27

28                                             13
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 20 of 23




 1   hardware which does not save Claim 17 because it is not inventive”) (emphasis
 2   added). And the specification fares no better, as the invention is described as “a
 3   system and method of programming GPS units from a link on the Global Computer
 4   Network (e.g., the Internet) is also provided.” ’365 Patent at 2:49-51. GPS units and
 5   the Internet are not novel. See Rothschild Location Techs. LLC v. Geotab USA, Inc.,
 6   No. 6:15-cv-682, 2016 WL 3584195, at *5, 7 (E.D. Tex. Jan. 4, 2016) (“A GPS
 7   device is a well-known generic computer element insufficient to make otherwise
 8   patent ineligible subject matter patentable.”) .Further details are neither claimed nor
 9   disclosed.
10         There is simply nothing “inventive” about using known processes (e.g., the
11   Internet and/or wireless networks) to retrieve address information. See’365 Patent at
12   9:38-46 (the invention is “described in the context of the GSM mobile
13   telecommunications standard” but may “relate[] to all telephone standards including,
14   and not limited to CDMA and US-TDMA”). Moreover, the abstract functional
15   descriptions in Claim 1 are devoid of any technical explanation as to how to
16   implement the purported invention in an inventive way. See In re TLI, 823 F.3d at
17   615 (claims failed Alice’s step 2 where specification limited its discussion of
18   “additional functionality” of conventional components “to abstract functional
19   descriptions devoid of technical explanation as to how to implement the invention”).
20   Nothing in Claim 1 requires any inventive algorithm or data structure, much less an
21   improved computer component. See Wireless Media Innovations, 100 F. Supp. 3d
22   405, 416-417 (“[A]dding a computer to otherwise conventional steps does not make
23   an invention patent-eligible. Any transformation from the use of computers or the
24   transfer of content between computers is merely what computers do and does not
25   change the analysis.”).
26

27

28                                             14
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 21 of 23




 1         Courts have repeatedly held that the presence of generic hardware and
 2   processing like the kind recited in Claim 1 of the ’365 Patent does not make an
 3   otherwise abstract idea patent-eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765
 4   F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer receives and sends the
 5   information over a network—with no further specification—is not even arguably
 6   inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when
 7   “[n]othing in the claims . . . requires anything other than conventional computer and
 8   network components operating according to their ordinary functions”); Wireless
 9   Media Innovations, 100 F. Supp. 3d 405, 416 (finding that the asserted claims “are
10   not tied to any particular novel machine or apparatus, only a general purpose
11   computer, general communication devices, and general vehicles,” and the “specific
12   system elements . . . merely require generic computer functions that are not
13   inventive.”); see also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract idea
14   does not become nonabstract by limiting the invention to a particular field of use or
15   technological environment, such as [GPS Units].” Intellectual Ventures I LL v.
16   Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).
17         This case is thus unlike Berkheimer, where the Federal Circuit noted that the
18   specification explicitly “describe[d] an inventive feature that store[d] parsed data in
19   a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369
20   (Fed. Cir. 2018). The Federal Circuit examined whether the improvements described
21   in the specification were included in the claims. For those claims where the inventive
22   feature in the specification was “captured in the claims,” the Federal Circuit found a
23   “factual dispute regarding whether the invention describe[d] well-understood,
24   routine, and conventional activities.” Id. But where the claims did not recite the
25   purportedly inventive features described in the specification, the Federal Circuit
26   concluded that they were directed to patent ineligible subject matter under § 101. Id.
27

28                                             15
             Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 22 of 23




 1   Here, in contrast, there is no need for fact discovery at all because neither the claims
 2   nor the specification describes any unconventional components or the use of generic
 3   components in some unconventional manner. The claims therefore fail Alice’s
 4   second step because they contain no inventive features, and no amount of fact
 5   discovery can change that.
 6         The recited limitations—whether considered individually or as an ordered
 7   combination—are insufficient to add “significantly more” to the abstract idea.
 8   Because it is altogether devoid of any “inventive concept,” Claim 1 of the ’365
 9   Patent is thus patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359-60.
10                3.     The remaining claims are dependent on Claim 1 and are also
11                       abstract
12         The remaining claims of the ’365 Patent relate to the same abstract concept of
13   sending and receiving information. The only differences are immaterial in the
14   context of a § 101 analysis. For example, claim 8 adds only conventional
15   components and broad functional language, for e.g., “a location information module
16   for determining location information of the requesting positional information
17   device.” Claim 8 is therefore directed to same abstract idea, and there is nothing that
18   adds significantly more to transform the ineligible concept. Alice, 134 S. Ct. at 2355-
19   2357. The dependent claims relate to (i) identifying information (dependent claims
20   2, 6, 9, and 13), (ii) type of information (dependent claims 3 and 10), and (iii) source
21   and display of information (dependent claims 4, 5, 7, 11, 12, 14, and 15). But
22   claiming variations related to the type and source of information is not inventive. So
23   too is the claims’ identification of additional generic components—particularly
24   because there is no disclosure of how any of the generic components (e.g., telematics
25   network) must be configured in any “inventive” manner to accomplish the desired
26   results. See Internet Patents, 790 F.3d at 1348.
27

28                                             16
            Case 5:22-cv-00222-VKD Document 9 Filed 02/08/22 Page 23 of 23




 1         None of these additional features amounts to an inventive feature or renders
 2   the claims any less abstract. Regardless of their form, therefore, all of the claims of
 3   the ’365 Patent fail both prongs of Alice because they are directed to an abstract idea
 4   and recite no inventive concept. Alice, 134 S. Ct. at 2355, 2357.
 5

 6   V.    CONCLUSION
 7         For the foregoing reasons, Driveroo, Inc. respectfully requests that the Court
 8   dismiss Social Positioning’s Complaint for failure to state a claim upon which relief
 9   can be granted. Because leave to amend would be futile, Driveroo, Inc. requests
10   dismissal with prejudice.
11

12

13   Dated: February 8, 2022                  By: /s/ Rodeen Talebi
14                                            Rodeen Talebi

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                             17
